Case 3:11-cr-05408-RJB        Document 53       Filed 10/24/11     Page 1 of 1




                        UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                AT TACOMA




UNITED STATES OF AMERICA,              )
                                       )
             Plaintiff,                )      NO: CR11-5408RJB
                                       )
       vs.                             )
                                       )      ORDER DENYING MOTION
ALEXANDER WALLS,                       )      REQUIRING THE DEPOSITION OF
                                       )      GUADALUPE HERNANDEZ
             Defendant.                )
_____________________________________________________________________________

       THIS MATTER comes before the court on the Defense Motion to Take the

Deposition of Guadalupe Hernandez (Dkt. 45). The court has reviewed the file and finds

that Defendant has not met his burden under Federal Rule of Criminal Procedure 15.

       IT IS HEREBY ORDERED that the Motion to Take the Deposition of Guadalupe

Hernandez (Dkt. 45) is DENIED without prejudice. .

       DATED this 24th day of October 2011.




                                    A
                                    ROBERT J. BRYAN
                                    United States District Judge
